Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 1 of 7




             Exhibit
               A
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               Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 2 of 7


                         CLASSIFIED iNFORMATION NONDISCLOSURE-AGREEMENT                                                 —




 AN AGREEMENT BETWEEN                                     John Robed Bolton                  AND THE UNITED.STATES
                                                (Name of IrsrfMdual Printed or typed)
                                                                       -


 I Intending to- be legally bound I hereby accept the obligations contained in this   eernen-ironsideiation of my being granted
 access to dassifled information As used in this Agreement, dassifled information is made[cr unmarked dassifled infornatjon
 mddlng oral comrnunftatlons that is classified under the standards of Executive Order l3526ocunder any other Executive order or
 statute that p ohtIts the unauthorized disclosure of information in the nteresf of nationá arid unclassified infomiation that
 meesthestandardsfordasstionandle1ntheproceesofacflcatondeteaborovidedpnsectionsf1 I 2,l3and
 1 4(e) of Execufive Order 13526 or under any other Executive order or statute that requTpection icr such Information in the
 interest of naIiànal security I understand and accept that by being granted access f dflT’1fomtaticn special contidence arid
 frust all be placed In me-bythe.United States Government:

 2. I hereby acknowledge that I have received a security indoctrination concerning the nature ancLprotection of classified Inforniation,
 induding the procedutes to be foIlod in ascertaining whether other persons to whom I contempLate disclosing this information have
 been approved for access to it, and thlI understand these procedures.

 3.1 have, been advised that the unauthorized .disosure, unauthorized reten on, or negligent handling of classified information by me
 could cause damage or irreparable mjury to the United States or cored be used to advantage by a foreign nation I hereby agree that I
 wfll never.divulge classified Inform ationtà anyone unless: (a) I have officially verified thatthé recipient has been property uthôrized by
 the United States Government to receive it, or (b) I have been given prior written notice of authorization from the United States
 Government Department or Agency (hereinafter Department or Agency) responsible for the classification of information or last granting
 me a security clearance that such disclosure is psmiitted understand thai Lf I am uncertain about the classification status of
 information I am required to confirm from an authorized official that the informaflon is unclassified before I may disclose it except to a
 person as provided in (a) or (b) above I further understand that I am obligated to compty with laws and regulations that prohibit the
 unauthorized disclosure of classified information                                             —




 4 I have been advised That any breach of this Agreement may result ri the termination of any security clearances I hold removal from
 any position of special confidence and trust requiring such clearances ortermiriation of my employment or other relationships with the
 Departments or Agencies that granted my security clearance or clearances In addition I have been advised that any unauthorized
 disclosure of classified information by me may constitute a violation or violations of United States criminal laws including the
 provisionsof sections 641, 793, 794, 798, ‘952 and 1924, title 18, United States Cede; ‘the provisions of section 783(b), title 50,
 United States Code and the provisions of the Intelligence Identities Protection Act of 1982 I recognize that nothirig in this Agreement
 constitut a walver by the United States of the iight to prosecUte me for any-statutory violation.
5. 1 herebyassign to the United States Government all royalties, remunerations, arid emolumentsthat have res(itted, will result or may
result from any disclosure, Publication, or revelation of classified information riotóônsisteht with the terms of this Agreement
6. I understand that the United States Government may seek any remedyavaIable to it to enfor ethis Agreement including, but not
limited to1 application for acourtorder prohibiting disclosure of information in breach of this Agreement.

7 I understand that afl classified information to Which I have access or may obtain access by signing this Agreement Is now arid will
remain the property of or under the control of the United States Government unless and until otherwise determined by an authorized
official or final wfing of a court of law I agree that I shall return all classified materials which have or may come Into my possession or
for which I sin responsible because of such access (a) upon demand by an authonzjpresentative of the United States
Government (b upon the conclusion of my employment or other relationship with the De rii or Agency that last granted me a
security clearance or-that provided me access to classified information or (c) upn tlie conclusion of my employment or other
relationship that req,urres access to classified information If I do not return such materials upon raiest, 1 understand that this may be
a violation ofsecticnslø3 anidlor1924, title 18, United States Code, a United States crtrnlnáI1aw.---

8 Unless end untiii released in writing by an authorized representative of tije U1t Government I understand that all
conditions and óbllällons imposed upon me by this Agreement apply dunng the te I aib granted access to classified information,
and at all time&theröér,                                                                      -




9 Each p Stoi’ofHI,s Agreement is severable tta court should find any provslanifthA.jiuont to be unenforceable all other
provisions ofihhLAgteementshall remain iii fufi force arid effect.

10. These provi&ons are consistent with and do not supersede, conflict with, ortherwise-atterthe employee obllgations,.nights, or
liabilities created by existing statute or Bxecutive order relating to (1) classified information (2) communications to Congress (3) the
reporting to an Inspector General of a violation of any law rule or regulation or rritsmanagement,-a gross waste of funds, an abuse of
authority or a substantial and specific danger to public health or safety or (4) any other whistleblower protection The definitions
requiremen obligations nghts sanctions and riabrties created by controlling Executive orders and statutory provisions are
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                     Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 3 of 7



Ii. These restrictions are orisistent With and do not supersede, conflict with, or therwlae afl the mployee obhgations, rights, or
liabilities cieated by Executive OrderNo. 13526 (75 Fed. Reg. 707), or any successor thereto sectlon 7211 of title5, United States
Code (governing disclosures to Congress) section 1034 of tTtle 10 United States Code as amended by the Military ViThIst)eblower
ProtectionAct (governing disclosure to Congress ty members of the mItary); section 2302 )(ofUUe 5, tJn led States Code, as
amended by the Whistieblower Protection Act of 1989 (governIng disclosures of lUegaty waste fraud abuse or pUbflc
                                                                                                                                  healti’i or
safety Ifireato): the lnte$fgence Identifies Protection Act of 1982 (50 U.SC. 421 et seq.)                 disdowres that coU’d expose
                                                                                                             (governing




confidential Government agents) sections          and SM the Inspector General Act of 1978{&U.SC App) (relating to disdosures
                                                   7(c)           of
                                                                                                                                                                     to




an inspector general. the Wispectors general of the lnteThgence Community and Congress), s             [ti3H(g)(3) of the National Security
Act of 1947 (50 U.S.C. 403-3h(gX3)    (relating to dieclisuresto thS inspector general of the IntelUgnce   Comrnunit); sectioris 17(d)(5)
and 17(e)(3) of the Central lntefllgence Agency Act of 194 (50 U $ C 403g(d)(5) and 40qJ3)) (relating to disclosures to the
Inspector General of the Central Intelligence Agency and Congress) nd the statutes which protect against disclosure that may
compromiseThe national security, including sections 641, 793, 794, 798, *952and 1924of tItle 18, United States Code, and,*section 4
(la) of the Subversive Activities Control At of 1950 (50 U S C section 763(b)) The definitions                          obUgations rights
                                                                                                                          requirements




sanctions, and rbhties created by said Executive Order and listed             are incorporated into this agreement and are controlling
                                                                              statutes




                                                                                                     That the briellng oflloer has
 12.hdve read this Agreement carefully and my questlons, if any, have been answered. I acknowledge
made available to me the Executive Order and statutes referenced in this agreement and its implementing regulation (32 CFR Part
2001 section 2001  8(d)(2) ) so that I may read themat this     if I so choose.
                               ‘    NOT P,PPLICP,BLETO NON-GOVERNMENT PEfSONNEL SIGNING ThIS AGREEMENT.
SIGNATURE                                                                      DATE                       soclAksacultrry NUMBER (Se8 Nolice bciai)

                                                                              G410512018
ORGANIZATION (iF COIrrR OR LICENSEE. GIANTEE OR AGEI4T PRCMDE NAME. ADDRESS AND IF A                               6t.E1DERAL SuPPLY COO!
NUMBER) fTj,eopjftijJ

 EOPJWHO


                                                                                         I                    ACCEPTANCE
                                    WiTNESS

HE EXECUTiON OF THiS AGREEMENT WAS WITNESSED                                   THE UNDERSIGNED:ACCEPTED THISAOREMENT
BY THE UNDERSIGNED.                                                            ON BEHALF OF ThE UNED STATE GOVERNMENTS
SIGNATURE                                                  DATE                SIGNATURE                                                      DATE

                                                           04105/2018                                                                         0410512018
NAME AND ADDRESS        (Type ocp,iht)                                         NP’MEANL3ADDRESS          (Type or1atnt)



Carl L. Kline    V

                                                                               Carl 1. Kline
725l7thStreet,NW                                                               7Z5l7thSfreet,NW
Washington, DC 20503                                                           Washington, DC 20503




                                                                                                                                               -.     V




                                            SECURITY DEBRIEFING ACKNOWLEDGEMENT-
I reaffirm that the pro’tIsions, of the espionage lai, other federal crininal Ia and         executive
                                                                                                         ordersappcable to the safeguarding of classWeø
iforrnaUon   have been made available to me that I have returned ati olassi5ed information wi my custody that I wfll                 not   commurNoate      or   transmit




classified information to any unauthorized person or orgarzat1on that I wI promptly      report   tothe FedESiau of Investigation                   any
                                                                                                                                                         an
                                                                                                                                                          attempt   by




unsuthotherl  person  to soUcit dassfied information and that I (have) (have not) (strike out inappropriate word orwords) receIved a security debriefing
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NOTICE: The Erivacy    Act,        U.S.C. 52a requft   that federal agencies infon individuals, at the urre Intormnauon Is solicited Tram them, whether the
disclosure is mandatory or volimlary, by w atauthority such infomiatlon Is sotcited, andwlIat uses wifl be niade of The infvrmaon. You are herlfby
advised that authoMy foi soliciting your Soaal Security Number (SSN) is PubSo Law 104-134 (Apr11 245).Your SSN wSl be used to identify you
                    necesy to ceulify that you have access to the information indicated above or to determine that your access to the a,foniiation
indicated has L’een minafed Furnishing your Social Security Number as well as other data is voluntanj but failure to do so may delay or prevent you
                                                                                                                                 V




being granted access to classified information.
                                                                                                                      STANDARD FORM 512 BACK (Rev. 7-201)
Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 4 of 7
Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 5 of 7
Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 6 of 7
Case 1:20-cv-01580-RCL Document 1-1 Filed 06/16/20 Page 7 of 7
